                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

                     CIVIL ACTION NO. 19-11400-RGS

                               JIE YING FANG

                                       v.

          ANDREW SAUL, COMMISSIONER OF SOCIAL SECURITY

                                   ORDER

                                 July 18, 2019

      Plaintiff Jie Ying Fang, a resident of Boston, filed a pro se complaint

seeking judicial review of a decision concerning plaintiff’s benefits

application. Plaintiff requests modification of the decision to grant disability

benefits starting on April 26, 2016, retroactive to the date of his initial

disability on May 7, 2015. With the complaint, plaintiff filed motions for

counsel and for leave to proceed in forma pauperis.

      When plaintiff filed his complaint on June 24, 2019, he named as

defendant Nancy Berryhill, then Acting Commissioner of Social Security.

However, one week earlier, on June 17, 2019, Andrew Saul was sworn in as

commissioner of the agency. When a public officer ceases to hold office, his

or her successor is automatically substituted as a party. Rule 25(d), Fed. R.

Civ. P.

      Accordingly:
     1.    Pursuant to Fed. R. Civ. P. 25(d), the court directs the clerk to

substitute Andrew Saul, Commissioner of Social Security Administration, as

the proper defendant.

     2.    The motion for leave to proceed in forma pauperis is granted.

     3.    The motion for counsel is denied without prejudice.

     4.    The Clerk shall issue a summons for service of the defendant and

the plaintiff shall serve the summons, complaint, and this Order in

accordance with Rule 4 of the Federal Rules of Civil Procedure.

     5.    Because the plaintiff is proceeding in forma pauperis, he may

elect to have the United States Marshals Service (“USMS”) complete service

with all costs of service to be advanced by the United States. If so asked by

the plaintiff, the USMS shall serve copies of the summons, complaint, and

this Order upon the defendant as directed by plaintiff. The plaintiff is

responsible for providing the USMS all copies for service and for completing

a USM-285 form for each party to be served. The Clerk shall provide the

plaintiff with forms and instructions for service by the USMS.

     6.    The plaintiff shall have 90 days from the date of the issuance of

the summons to complete service.

                                   SO ORDERED.

                                   /s/ Richard G. Stearns
                                   UNITED STATES DISTRICT JUDGE

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